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      IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
6
                                                CALIFORNIA
7

8                                                       )     Case No.:
     EASTON STOKES                                      )
9                                                       )     3:19-cv-04613-WHA
                             Plaintiff,                 )
10                                                      )
                              vs.                       )
11   UNITED STATES DEPARTMENT OF JUSTICE, )                   PLAINTIFF’S RESPONSE TO REQUEST
     WILLIAM BARR, individually and as Attorney )             FOR SUPPLEMENTAL BRIEFING
12   General of the United States, THE U.S. BUREAU )
     OF ALCOHOL, TOBACCO, FIREARMS AND )
13                                                      )
     EXPLOSIVES (ATF), REGINA LOMARDO,
     individually and as Acting Director of ATF, THE
14
     FEDERAL BUREAU OF INVESTIGATION,
15
     CHRISTOPHER WRAY, individually and as
     Director of the Federal Bureau of Investigation,
16   STATE OF CALIFORNIA, XAVIER BECERRA,
     individually and acting as Attorney General of the
17   State of California, and THE SONOMA COUNTY
     SHERIFF’S OFFICE, MARK ESSICK,
18   individually and as Sheriff of Sonoma County,
19                            Defendants.

20
     TO: ALL PARTIES
21
             Plaintiff acknowledges that the Winchester 1894 rifle that Plaintiff would like to possess
22
     is not classified as an antique firearm under 27 C.F.R. § 478.11.
23

24   Dated: November 23rd, 2020                      ___________/s/___________
25                                                   Timothy Kelly
26                                                   Attorney for Plaintiff EASTON STOKES

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                                    NOTICE OF DISMISSAL FOR ONE DEFENDANT
29
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